Case 2:98-cV-00819-TS Document 25 Filed 05/08/00 Page 1 of 2

AO 450 (Rev.S/SS) Judgment in a Civil Case

United States District Cgurti:§

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Central Division for the District of Utah § fan ., -. ,`_.»,_',:U

  

Barbara Burroughs JUDGMENT IN A CIVIL CASE

V.
San Juan County School District
Case Number: 2:980\/8]9 ST

This action came to trial or hearing before the Court. The issues have been tried or heard and a
decision has been rendered

IT IS ORDERED AND ADJUDGED

that judgment be entered in favor of the defendant and plaintiffJ s cause of action is dismissed

with prej udice.

Markus B. Zimrner
CY€rk

May 8, 2000
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ce
United States Dietrict Court
for the
District of Utah
May 9, 2000

* * CERTIFICATE OF SERVICE OF CLERK * *

Re: 2:98-cv-00819

True and correct copies of the attached were either mailed or faxed by the
clerk to the following:

Grant M. Sumeion, Esq.

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LITIGATION UNIT

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